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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                8:13-CR-244

vs.
                                                    MEMORANDUM AND ORDER
LUIS VALLEJO,

                     Defendant.


      This matter is before the Court on the defendant Luis Vallejo's motion
for new trial (filing 186).1 For the reasons discussed below, the motion will be
denied.

                                BACKGROUND
       The superseding indictment in this case charged Vallejo with
conspiracy to distribute or possess with intent to distribute 500 grams or
more of a mixture or substance of methamphetamine (count I) and possession
with intent to distribute 50 grams or more of actual methamphetamine
(count IV), in violation of 21 U.S.C. §§ 841 and 846. Filing 141. Vallejo was
found guilty of both counts following a jury trial. Filing 182.
       At trial, the government presented the testimony of one of Vallejo's co-
conspirators, Froilan Cuevas. Cuevas has since pleaded guilty to conspiracy
to distribute methamphetamine. See, filings 141, 156, and 215. Cuevas acted
as a driver for Jorge Munoz-Ramon, who has also been charged with
participation in the conspiracy.2 Among other things, Cuevas testified that
Munoz-Ramon had told him that Vallejo had been paid to drive
methamphetamine from California to Omaha. Vallejo's motion for a new trial
focuses on the Court's decision to admit this testimony over Vallejo's
objections.



1 The Court has also received a letter from Vallejo, which requests, among other things, a

retrial. Filing 242. The Court has considered the letter, but it does not add to the grounds
for relief already contained in the motion for a new trial.
2 Munoz-Ramon was charged in the same superseding indictment, but has not yet
proceeded to trial or pleaded guilty.
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                          STANDARD OF REVIEW
      Upon the defendant's motion, the Court may vacate any judgment and
grant a new trial if the interest of justice so requires. Fed. R. Crim. P. 33(a).
A motion for new trial is committed to the Court's discretion, and while the
Court may weigh the evidence and disbelieve witnesses, the verdict must be
allowed to stand unless the Court ultimately determines that a miscarriage
of justice will occur. United States v. Maybee, 687 F.3d 1026, 1032 (8th Cir.
2012).

                                  ANALYSIS
       Vallejo's motion for a new trial purports to raise three grounds for
relief: (1) that the verdict was contrary to the evidence, (2) that the verdict
was contrary to law, and (3) that "[e]rrors of law occurred during the course
of the trial which were duly objected to by defense counsel." Filing 186. But
Vallejo has only made one argument of substance: that the Court erred in
admitting the statement of Munoz-Ramon described above. Filing 226.
Vallejo's remaining assignments of error were only raised in a cursory
fashion and will be disposed of in a similar manner. The verdict was not
contrary to the evidence, and the Court is unaware of any legal errors that
might have prejudiced Vallejo, let alone errors requiring a new trial. So, the
Court turns to Vallejo's sole substantive argument.
       At trial, the Court found that Munoz-Ramon's statement, offered
through Cuevas, was admissible as the statement of a co-conspirator under
Fed. R. Evid. 801(d)(2)(E). Under that rule, the statements of a co-conspirator
are admissible as non-hearsay if the prosecution demonstrates by a
preponderance of the evidence that: (1) a conspiracy existed, (2) the
defendant and the declarant were members of the conspiracy, and (3) the
declaration was made during the course of and in furtherance of the
conspiracy. United States v. Mickelson, 378 F.3d 810, 819 (8th Cir. 2004); see
also, United States v. Dinwiddie, 618 F.3d 821, 836 (8th Cir. 2010); United
States v. Hyles, 521 F.3d 946, 959 (8th Cir. 2008).
       In admitting the testimony, the Court followed the framework set forth
in United States v. Bell, 573 F.2d 1040 (8th Cir. 1978), by making explicit
findings at the close of evidence that Munoz-Ramon's statement satisfied
each of the requirements of Rule 801(d)(2)(E). See United States v. Tremusini,
688 F.3d 547, 554–55 (8th Cir. 2012). Specifically, the Court found that a
conspiracy existed, that Vallejo and Munoz-Ramon were members of the




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conspiracy,3 and that the statement was made during the course of and in
furtherance of the conspiracy.
      The Court also determined that Cuevas' testimony did not run afoul of
the Confrontation Clause. The Confrontation Clause of the Sixth Amendment
secures the right of an accused “to be confronted with the witnesses against
him.” U.S. Const., Amdt. VI. This protection bars the introduction of
testimonial hearsay. United States v. Holmes, 620 F.3d 836, 841 (8th Cir.
2010). But the Confrontation Clause generally does not bar statements made
by a co-conspirator, during the course of and in furtherance of the conspiracy,
because such statements are not testimonial. United States v. Avila Vargas,
570 F.3d 1004, 1008–09 (8th Cir. 2009). And because Munoz-Ramon's
statements satisfied Rule 801(d)(2)(E), they are not hearsay. Thus, the
Confrontation Clause was no bar to Munoz-Ramon's statements. See
Dinwiddie, 618 F.3d at 835 n.4.
      Vallejo objects to two aspects of these findings. First, Vallejo argues
that the Court erred in finding that Munoz-Ramon's statements were made
in furtherance of the conspiracy. While the phrase "in furtherance of the
conspiracy" is interpreted broadly, it is not so broad as to cover statements
that are made simply to impress the listener, or that merely inform the
listener of the declarant or a co-conspirator's criminal activities. United
States v. Ragland, 555 F.3d 706, 713 (8th Cir. 2009). But statements that
discuss the supply source for illegal drugs or identify a co-conspirator's role in
the conspiracy are considered statements made in furtherance of the
conspiracy. Id.
      Vallejo cites United States v. Snider, 720 F.2d 985, 992 (8th Cir. 1983),
and Battle v. Lubrizol Corp., 673 F.2d 984, 990 (8th Cir. 1982), in support of
his argument that Munoz-Ramon's statements were not made in furtherance
of the conspiracy. Both cases are readily distinguishable. The statements in
Snider consisted of descriptions of the criminal enterprise made to an
outsider in an attempt to impress her, and did not further the conspiracy in
any way. 720 F.2d at 992. Similarly, the statements in Battle were made to
outsiders and amounted to mere boasting. 673 F.2d at 990. In contrast,
Munoz-Ramon's statement to Cuevas furthered the conspiracy because it
both identified the source of the methamphetamine and explained Vallejo's
role in the conspiracy. Ragland, 555 F.3d at 713; see also, United States v.
Cazares, 521 F.3d 991, 999 (8th Cir. 2008); United States v. Jordan, 260 F.3d
930, 933 (8th Cir. 2001).


3 Cuevas was also a member of the conspiracy, but that   finding is not a pre-requisite to
admissibility under Rule 801(d)(2)(E)—it is only necessary that the defendant and the
declarant were members of the conspiracy. Dinwiddie, 618 F.3d at 836.
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       Second, Vallejo argues that admission of Munoz-Ramon's statement
violated the Confrontation Clause because the statement lacked adequate
"indicia of reliability." Filing 226 at 2-3 (citing Lilly v. Virginia, 527 U.S. 116
(1999)); see also Ohio v. Roberts, 448 U.S. 56, 66 (1980). But the reliability
test of Roberts and Lilly was abolished—and Roberts was expressly rejected—
in the landmark decision of Crawford v. Washington, 541 U.S. 36, 60 (2004),
a case curiously lacking from the defendant's briefs. Under Crawford, the
reliability of the statement is not part of the equation. Instead, the Court only
asks whether the statement constitutes testimonial hearsay; if not, the
Confrontation Clause has no application. Whorton v. Bockting, 549 U.S. 406,
420 (2007). The reliability of Munoz-Ramon's statements (and the credibility
of Cuevas' testimony) were matters for the jury to consider. The jury had
ample opportunity to consider Vallejo's arguments on those matters, and
found them unpersuasive. The Court has been given no reason to disturb the
jury's verdict.

      THEREFORE, IT IS ORDERED:

      1.    The defendant's motion for new trial (filing 186) is denied.

      Dated this 29th day of April, 2014.

                                            BY THE COURT:



                                            John M. Gerrard
                                            United States District Judge




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